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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




SYLVIA STOLICKER,                   )
                                    )
                  Plaintiff,        )                 Case No. 1:04-cv-733
                                    )
v.                                  )                 Honorable Robert Holmes Bell
                                    )
MULLER, MULLER, RICHMOND,           )
HARMS, MYERS & SGROI, P.C.,         )
                                    )
                  Defendant.        )
____________________________________)


          ORDER DENYING MOTION FOR LEAVE TO AMEND COMPLAINT

               This matter came on for hearing on plaintiff’s motion to amend her complaint by

adding a count for violation of Article 9 of the Michigan Occupational Code, MICH. COMP. LAWS

§ 339.101, et seq. At a hearing conducted on October 13, 2005, the court determined that

amendment would be futile, because attorneys are expressly excluded from the definition of a

licensee under the Michigan Occupational Code, no Michigan state court has ever held that attorneys

are subject to licensing and regulation under the Occupational Code, and state law entrusts the state

Supreme Court with exclusive power to regulate the conduct of attorneys. See MICH. CONST . 1963,

art. VI, § 5; MICH. COMP. LAWS § 600.904; Schlossberg v. State Bar Grievance Bd., 200 N.W.2d

219, 221 (Mich. 1972). The court therefore concluded that injection of a meritless claim at this stage

of the proceedings would disrupt the orderly progression of the case and cause unnecessary expense

to the parties. Accordingly, for the reasons set forth more fully on the record:
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              IT IS ORDERED that plaintiff’s motion for leave to file an amended complaint

(docket # 66) be and hereby is DENIED on ground of futility.



              DONE AND ORDERED this 13th day of October, 2005.


                                    /s/ Joseph G. Scoville
                                    United States Magistrate Judge




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